Case 3:17-cv-00072-NKM-JCH Document 315 Filed 05/23/18 Page 1 of 2 Pageid#: 2147




                    UNITED STATES DISTRICT COURT
                             FOR THE
                    WESTERN DISTRICT OF VIRGINIA

  ELIZABETH SINES, et al.,         :
                                   :
     Plaintiffs,                   :
                                   :
        vs.                        :    CA No. 3:17-cv-00072-NKM
                                   :
  JASON KESSLER, et al.,           :
                                   :
     Defendants.                   :

                          NOTICE OF APPEARANCE

  To the Clerk:

        PLEASE note the appearance of the undersigned as counsel

  for Defendant Richard B. Spencer.

                                Respectfully submitted,

                                __/s/ John A. DiNucci_________________
                                John A. DiNucci (VSB No. 29270)
                                8180 Greensboro Drive
                                Suite 1150
                                McLean, Virginia 22102
                                tel.: (703) 821-4232
                                fax: (703) 790-9863
                                e-mail: dinuccilaw@outlook.com




                                       1
Case 3:17-cv-00072-NKM-JCH Document 315 Filed 05/23/18 Page 2 of 2 Pageid#: 2148




                        CERTIFICATE OF SERVICE

        I hereby certify that, on May 23, 2018, I filed the

  foregoing Notice with the Clerk of Court through the CM/ECF

  system, which will send a notice of electronic filing to the

  following:

                        on all counsel of record

        I further certify that, on May 23, 2018, I served a copy of

  the foregoing Notice on the following person by mail, first-

  class, postage-prepaid

                         Michael E. Peinovich
                         P.O. Box 1069
                         Hopewell Junction, NY 12533


                                      /s/ John A. DiNucci___________
                                      John A. DiNucci (VSB No. 29270)
                                      8180 Greensboro Drive
                                      Suite 1150
                                      McLean, Virginia 22102
                                      tel.: (703) 821-4232
                                      fax: (703) 790-9863
                                      e-mail: dinuccilaw@outlook.com




                                       2
